                United States District Court                             

                    NORTHERN DISTRICT OF TEXAS                           
                         DALLAS DIVISION                                 

MICHAEL LANDERS et al.         §                                         
                               §                                         
v.                             §     CIVIL ACTION NO. 3:20-CV-1556-S     
                               §                                         
C.R. BARD INCORPORATED et al.  §                                         

                MEMORANDUM OPINION AND ORDER                             

    This Order addresses Plaintiffs’ Unopposed Motion to Sever and Transfer Venue of Out-
of-State Plaintiffs’ Cases [ECF No. 17].  Defendants filed a Response to the Motion, stating that 
they do not oppose severance and transfer of the cases identified in the Motion.  See ECF  
No. 22.  For the following reasons, the Court GRANTS the Motion.          
                  I.  PROCEDURAL BACKGROUND                              

    Plaintiffs filed this action in the state district court.  See Notice of Removal Ex. D-2.  
Defendants timely removed the case to this Court based on diversity of citizenship.  See Notice of 
Removal.  Plaintiffs filed the pending Motion on August 3, 2020, which is now ripe and pending 
before the Court.                                                         
                        II.  SEVERANCE                                   

    A court has broad discretion to sever issues under Rule 21, see Brunet v. United Gas 
Pipeline Co., 15 F.3d 500, 505 (5th Cir. 1994), and that discretion similarly allows for the 
severance and transfer of parties in the interest of justice, see Spencer, White &amp; Prentis, Inc. v. 
Pfizer, Inc., 498 F.2d 358, 361-62 (5th Cir. 1974).  “In the situation where venue is proper for one 
defendant but not for another and dismissal is inappropriate, the district court . . . may sever the 
claims, retaining jurisdiction over one defendant and transferring the case as to the other defendant 
to an appropriate district.”  Carnival Corp. v. Tug W.O. Watson, No. Civ. A. 02-2375, 2003 WL 
943633, at *1 (E.D. La. Mar. 5, 2003) (citation omitted); see also Stewart v. Livingston, Civ. A. 
No. H-14-1483, 2014 WL 4975434, at *5 (S.D. Tex. Oct. 3, 2014) (citation omitted) (“The Court 
. . . has broad discretion to sever and transfer issues that should be tried in another district.”).  
Defendants agree with Plaintiffs’ request to sever the cases.  Accordingly, the Court exercises its 
discretion and finds that severance of the out-of-state plaintiffs is in the interest of justice.   

                        III.  TRANSFER                                   

    A district court may transfer any civil action to any other district or division in which it 
might have been brought for the convenience of the parties and witnesses, if such transfer is in the 
interest of justice.  See 28 U.S.C. § 1404(a).  The moving party bears the burden of demonstrating 
that a transfer of venue is warranted for convenience purposes.  See Time, Inc. v. Manning, 366 
F.2d 690, 698 (5th Cir. 1966).  The movant’s burden is to show “good cause” for transfer.  In re 
Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) (hereinafter, “Volkswagen II”).  The 
Fifth Circuit explained:                                                  
    Th[e] good cause burden reflects the appropriate deference to which the plaintiff’s 
    choice of venue is entitled.  When viewed in the context of § 1404(a), to show good 
    cause means that a moving party, in order to support its claim for a transfer, must 
    satisfy the statutory requirements and clearly demonstrate that a transfer is for the 
    convenience of parties and witnesses, in the interest of justice.    

Id. (internal quotation marks omitted).  The determination of venue transfer pursuant to § 1404(a) 
is within the district court’s sound discretion, exercised “in light of the particular circumstances of 
the case.”  Hanby v. Shell Oil Co., 144 F. Supp. 2d 673, 676 (E.D. Tex. 2001) (citing Radio  
Santa Fe v. Sena, 687 F. Supp. 284, 287 (E.D. Tex. 1988))).  In doing so, the court must balance 
the two categories of interest—private and public—to resolve whether the movant has carried his 
burden.  Volkswagen II, 545 F.3d at 315 (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501 (1947)).   
    The private interest factors are: “(1) the relative ease of access to sources of proof; (2) the 
availability of compulsory process to secure the attendance of witnesses; (3) the cost of attendance 
for willing witnesses; and (4) all other practical problems that make trial of a case easy, expeditious 
and inexpensive.”   In re Volkswagen AG, 371 F.3d 201, 204  (5th Cir. 2004) (hereinafter, 
“Volkswagen I”) (citing Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)).  The public 
interest factors are: “(1) the administrative difficulties flowing from court congestion; (2) the local 

interest in having localized interests decided at home; (3) the familiarity of the forum with the law 
that will govern the case; and (4) the avoidance of unnecessary problems of conflict of laws of the 
application of foreign law.”  Id.                                         
    Plaintiffs request this Court to transfer the out-of-state plaintiffs to the jurisdictions in 
which they had surgery for the implantation of their Bard inferior vena cava filter.  See Br. in Supp. 
of Mot. (“Br.”) 7.  The identified cases might have been brought in those jurisdictions because that 
is where “a substantial part of the events or omissions giving rise to the claim occurred.”  28 U.S.C. 
§ 1391(b)(2).  With respect to the private and public interest factors, Plaintiffs assert that the out-
of-state plaintiffs have essentially no connection to the state of Texas.  See Br. 8-9; Pls.’ App.  
They reside outside of Texas, they were not implanted with a Bard inferior vena cava filter in 
Texas, and essentially all of their medical treatment took place outside of Texas.  See generally 

Br.  In summary, none of the out-of-state plaintiffs have any connection whatsoever to the Dallas 
Division of the Northern District of Texas, based on the evidence presented to the Court.   
    Plaintiffs  also  assert  (and  Defendants  do  not  dispute)  that  the  proposed  transfer 
jurisdictions  correspond  with  many  of  the  out-of-state  plaintiffs’  residences.    See  Mot.  1.  
Moreover, the out-of-state plaintiffs received at least some medical care in that jurisdiction.  See 
id.  Thus, the private and public interest factors weigh in favor of transfer, as (1) transfer will allow 
for ease of access to sources of proof; (2) medical provider witnesses should be accessible through 
service of process; (3) travel costs should be minimized; and (4) there is a local interest due to 
those plaintiffs’ residences.  See Volkswagen I, 371 F.3d at 204.         
    The Court notes that while Defendants agree that Plaintiffs Linda Cattles’s (“Cattles”) and 
Carol Gump’s (“Gump”) cases should be severed and transferred, they assert that the record is 
insufficient to determine the appropriate states of transfer.  See ECF No. 22.  Regardless, the Court 
finds, and the record is undisputed, that Cattles resides in Cottageville, South Carolina, see Pls. 
App. 002, and that she received at least some medical treatment in Charleston, South Carolina, see 

id. at 010.  Moreover, the Court finds, and the record is undisputed, that Gump resides in 
Zephyrhills, Florida, see id. at 002, and that she received at least some medical treatment in 
Zephyrhills, Florida, see id. at 013.  Therefore, the Court finds that the public and private interest 
factors similarly weigh in favor of transfer with respect to Cattles and Gump.  Defendants agree 
that Plaintiffs have identified the proper transferee districts for the remaining out-of-state plaintiffs.    
     As a result, the Court finds that Plaintiffs have met their burden to clearly demonstrate 
that the proposed jurisdictions are more convenient forums for the parties and witnesses than the 
Dallas Division of the Northern District of Texas.  See 28 U.S.C. § 1404(a); Volkswagen II, 545 
F.3d at 315. Accordingly, based on the agreement of counsel and the undisputed representations 
by Plaintiffs’ counsel, the Court GRANTS the Motion and directs the Clerk of the Court to sever 

and transfer this action as follows:                                     
    a.  Plaintiff Katherine Bishop’s case be severed and transferred to the Eastern 
      Division of the Southern District of Mississippi;                  
    b.  Plaintiff Linda Cattles’s case be severed and transferred to  the Charleston 
      Division of the District of South Carolina;                        
    c.  Plaintiff Carol Gump’s case be severed and transferred to the Tampa Division 
      of the Middle District of Florida;                                 
    d.  Plaintiff Melvin Haley’s case be severed  and  transferred to  the Northern 
      Division of the Southern District of Mississippi;                  
     e.  Plaintiff  Chelsea  Jackson’s  case  be  severed  and  transferred  to  the  Fort 
        Lauderdale Division of the Southern District of Florida; 
     f.   Plaintiff Sharon  Listul’s  case  be  severed  and  transferred  to  the  Northern 
        Division of the Middle District of Alabama; 
     g.  Plaintiff Annie Newton’s case be severed and transferred to the Fort Lauderdale 
        Division of the Southern District of Florida; and 
     h.  Plaintiff Dolores Wiedner’s  case be severed and transferred to the St.  Paul 
        Division of the District of Minnesota. 
Plaintiff Michael Landers is the sole plaintiff with any connection to this forum.  Accordingly, he 
shall remain in the Dallas Division of the Northern District of Texas. 
     SO ORDERED. 
     SIGNED August 31, 2020. 
                                       Nave Apex  Sefheler 
                                        UNITED STATES DISTRICT JUDGE